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                                EXHIBIT LIST

1. OB-19-01

2. OB-19-04

3. 747 and 767 Engine data

4. 747-400 Idle Thrust Hazard area

5. 747-400 Maintenance Engine run Hazard area

6. 747-400 Minimum Thrust to move hazard area

7. 747-400 Take Off Power hazard area

8. Boeing Maintenance Manual Jet Blast

9. FOM – Excerpts

10. 747-8 FCOM – Excerpts

11. 767 FCOM – Excerpts

12. GMM – Excerpts

13. Sept52018 MxtoCrew re Meal Voucher

14. CrewMsgtoMX - re no on Voucher

15. Sidor and Arnold Emails

16. Performing Maintenance Run _ Start
